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 6                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
 7                                   OAKLAND DIVISION

 8   IN RE: SOCIAL MEDIA ADOLESCENT                          MDL 3047
     ADDICTION/PERSONAL INJURY
 9   PRODUCTS LIABILITY LITIGATION
     _________________________________________
10
     This Document Relates to:
11
     JOLEEN YOUNGERS, As Personal
12   Representative of the Wrongful Death Estate of
     I.G., A Deceased Minor Child; MATTHEW                   Case No. 4:22-md-03047-YGR
13   GONZALES; ALISA GONZALES and ELSA
     ACEVEDO,                                                Hon. Yvonne Gonzalez Rogers
14
      Plaintiffs,
15
     v.                                                      UNOPPOSED MOTION FOR
16                                                           LEAVE TO FILE AMENDED
     TIKTOK INC. and BYTEDANCE INC.                          COMPLAINT
17
      Defendants.
18
     Member case: 4:22-cv-06456-YGR
19   Case in other court: N.M., 1:22-cv-00706-JFR-LF

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21    PLAINTIFFS’ UNOPPOSED MOTION FOR LEAVE TO FILE AMENDED COMPLAINT

22           Plaintiffs Joleen Youngers, as Personal Representative of the Wrongful Death Estate of I.G.,

23   a deceased minor Child; Matthew Gonzales; Alisa Gonzales and Elsa Acevedo, file this Unopposed

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     Plaintiffs’ Unopposed Motion for Leave to File Amend Complaint
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 1   Motion for Leave to File Amended Complaint. In support thereof, Plaintiffs would show the

 2   following:

 3          1.      On August 9, 2022, Plaintiffs filed this action in the First Judicial District Court of

 4   Santa Fe County, New Mexico as Case No. D-101-CV-2022-01441. Plaintiffs in that proceeding

 5   were identified by pseudonyms in the original complaint.

 6          2.      Plaintiffs sought leave to proceed using the pseudonyms in the original complaint

 7   pursuant to New Mexico law. Before Plaintiffs’ motion for leave to proceed using pseudonyms

 8   could be heard, Defendants filed a notice of removal. After this case was removed to federal court

 9   it was included in the conditional transfer order and transferred to this Court. MDL No. 3047,

10   CTO-1. No ruling was ever made on Plaintiffs’ motion for leave to use pseudonyms.

11          3.      Plaintiffs no longer believe the use of pseudonyms is necessary for the adult-

12   plaintiffs in this case and seek leave pursuant to FED. R. CIV. P. 15(a)(2) to identify those parties by

13   name in an amended complaint. A copy of the proposed Amended Complaint is attached as Exhibit

14   1.

15          4.      Federal Rule of Civil Procedure 15(a)(2) states that a party may amend a pleading

16   before trial “with the opposing party’s written consent or the court’s leave” and that the “court

17   should freely give leave when justice so requires.” While Rule 15(a) is “very liberal . . . a district

18   court need not grant leave to amend where the amendment: (1) prejudices the opposing party; (2) is

19   sought in bad faith; (3) produces an undue delay in litigation; or (4) is futile. See, e.g., Kidwell-

20   Bertagnolli v. Cty. of Sonoma, No. 20-cv-03291-JSC, 2020 U.S. Dist. LEXIS 198945, at *2 (N.D.

21   Cal. 2020) (granting leave to amend complaint).

22          5.      Plaintiffs sought Defendants’ written consent to file an amended complaint, provided

23   a copy of the proposed amendment, and explained that the purpose of the amendment was to

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     Plaintiffs’ Unopposed Motion for Leave to File Amend Complaint
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 1   identify the names of the adult-plaintiffs in the style and throughout the complaint. Defendants

 2   have indicated that they are unopposed to Plaintiffs’ motion for leave or the amendment.

 3          6.      Plaintiffs’ motion and amended complaint are filed in the interest of justice. The

 4   purpose of Plaintiffs’ amendment is to identify the parties more clearly by name rather than by

 5   using pseudonyms. This amendment will help clarify the suit for the Court and the parties.

 6   Plaintiffs have not added any additional defendants, any additional claims, or any additional

 7   theories of liability to the case in this amendment.

 8          7.      None of the relevant factors weigh against Plaintiffs’ requested amendment. There

 9   is no prejudice to Defendants. Defendants have not answered or otherwise responded to the

10   complaint and do not presently even have a deadline to respond. Moreover, the nature of Plaintiffs’

11   amendment, the identification of the Plaintiffs by name, cannot prejudice Defendant. Plaintiffs do

12   not seek the amendment in bad faith. Instead, Plaintiffs request the amendment in an effort to avoid

13   motion practice about pseudonyms used in the original complaint. Plaintiffs’ amendment would

14   result in no delay. This case is not presently set for trial and Defendants do not have a deadline to

15   respond to the complaint. Plaintiffs’ amendment is not futile. There are no alleged deficiencies in

16   Plaintiffs’ original complaint. Plaintiffs’ amendment seeks merely to identify the names of the

17   parties in the original complaint.

18          8.      Plaintiffs are mindful of the Court’s intent to have a master complaint in the case.

19   Plaintiffs do not expect this amendment will interfere with the Court’s master complaint process.

20   Instead, Plaintiffs file this complaint to avoid any allegation of undue delay.

21          9.      Thus, Plaintiffs respectfully request that the Court grant Plaintiffs leave to file the

22   amended complaint filed with this motion.

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     Plaintiffs’ Unopposed Motion for Leave to File Amend Complaint
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 1   Dated: November 21, 2022                    Respectfully submitted,

 2                                                /s/ Anthony K. Bruster
                                                 Anthony K. Bruster
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                                                 Pro Hac Vice
 4                                               Shawn A. Latchford
                                                 New Mexico Bar No. 160025
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13                                               Email: jkaufman@dpslawgroup.com
                                                 Email: rbienvenu@dpslawgroup.com
14
                                                 Attorneys for Plaintiffs
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16                                 CERTIFICATE OF CONFERENCE

17          Counsel for Plaintiffs conferred with counsel for Defendants identifying the requested

18   amendment, with a copy of the proposed amendment, and sought consent from Defendants’

19   counsel. Defendants’ counsel confirmed that Defendants do not oppose the relief requested in this

20   motion. Thus, it is filed as unopposed.

21                                                /s/ Anthony K. Bruster
                                                 Anthony K. Bruster
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     Plaintiffs’ Unopposed Motion for Leave to File Amend Complaint
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 1                                    CERTIFICATE OF SERVICE

 2         I hereby certify that copies of the foregoing were served on all parties registered to receive

 3   service by ECF on November 21, 2022.

 4                                                /s/ Anthony K. Bruster
                                                 Anthony K. Bruster
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     Plaintiffs’ Unopposed Motion for Leave to File Amend Complaint
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